Case 1:15-cr-00179-L.]O-SKO Document 20 Filed 07/14/15 Page 1 of 2

AO 98 (Rev. 12/11- EDCA [Fresno 11/13]) Appearance and Comp|iance Bond

 

UNITED STATES DISTRICT COURT

 

 

 

for the
Eastern District of California T GOUR
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UNITED STATES OF AMERICA, EAST§§S DLiSTR\GT OF CAL\FORTN\A
` ` ) er _---~D-E-»m
V. )
/ § CaSe NO. l:l$-cr-00179 LJO SKO
JOHN THOMAS TERRENCE ) ~
Defendant
APPEARANCE AND COMPLIANCE BOND
Defendant’s Agreement
I, John Thomas Terrence (defendam), agree to follow every order of this court, or any

 

court that considers this case, and I,further'agree that this bond may be forfeited if I fail:
( l'§€‘ ) to appear for court proceedings;
( }'~Tf_' ) if convicted, to surrender to serve a sentence that the court may impose; or
( fJ,~ ) to comply with all conditions set forth in any Order Setting Conditions of Release for me.

 

 

Type of Bond
('K) (l) This is a personal recognizance bond, '
( I_'“" ) (2) This is an unsecured bond of $ , with net worth Of; $
( l'? ) (3) This is a secured bond of $ l , secured by:
( l__' ) (a) $ , in cash deposited with the court.

( I_ ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
(describe the cash or other property, including claims on it - such as a lien, mortgage, or loan - and attach proof of
ownership and value):

 

 

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

( l_ ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surery):

 

 

 

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs

Case 1:15-cr-00179-L.]O-SKO Document 20 Filed 07/14/15 Page 2 of 2
- Page2

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Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (l) the defendant 1s found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property/Net Worth. I, the defendant- and each surety - declare under penalty of perjury that:

(l) all owners of the property securing this appearance bond are included on the bond;

'(2) n the property is not subject to claims, except as described above; and

(3) I will not reduce my net worth, sell any property, allow further claims to be made against any property,
or do anything to reduce the value while this Appearance and Compliance Bond is in effect.

Acceptance. I, the defendant- and each surety - have read this appearance bond and have either read all the conditions
of release set.by the court or had them explained to me. I,agree to this Appearance and Compliance Bond.

I, the defendant ~ and each surety - declare under penalty of perjury that this information is true. (See 28 U.S.C.§ 1746.)

Date:w' lL'/cz©l§/ _;K, \(\@Q/-~Q<» `

OM

 

 

 

Surety/property owner - printed name Surety/property owner - signature and date

Surety/property owner - printed name _ Surety/property owner - signature and date

Surety/property owner - printed name Surety/property owner - signature and date
CLERK OF COURT

Date: !`|\.L’l<;?©l§' l;i lw\’\i:Q/\

lSignatu)\s of Clerk or Deputy Clerk

Approved.
Date: " 2 lj|>/ N`“"lp Q`\

 

 

